Case 1:23-cv-01489-DLC Document 24-1 Filed 09/19/23 Page 1 of 2

UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF NEW YORK

SERVISIO SIMMON

Plaintiff(s). 1:23-CV-01489-DLC

v.
CITY OF NEW YORK, ET AL

Defendant(s).

AFFIDAVIT OF SERVISIO SIMMON IN OPPOSITION TO MOTION FOR JUDGMENT ON
THE PLEADINGS

STATE OF NEW YORK
COUNTY OF QUEENS

SERVISIO SIMMMON, being duly sworn, deposes and says:

l. I am over 18 years of age, of sound mind and otherwise competent to make this Affidavit. The
evidence set out in the foregoing Affidavit is based on my personal knowledge.

2. I have reviewed the “General Release” that was attached as Exhibit One to this Affidavit.

3. This is the first time I have ever seen this document.

4. As a result of me having never seen this document, I have never read the terms of this Release
nor had the terms read to me.

5. I did not sign this document.

6. My attorney asked if they could sign settlement paperwork on my behalf. I was not informed nor

notified that there was general release that would extinguish all of my other claims.

[REMAINDER INTENTIONALLY LEFT BLANK]
Case 1:23-cv-01489-DLC Document 24-1 Filed 09/19/23 Page 2 of 2

Ate

SERVISIO SIMMON

NOTARY PUBLIC

Lisa M. Minor
Notary Public, State of New York
cused inbre
Bronx Co
Commission Expires: 100212005
